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                                             The parties' Letter-Motion for an extension of time to file
                                             Plaintiff's Motion (ECF No. 22) is GRANTED. The deadline
                                             to file Plaintiff's Motion is EXTENDED until Friday,
                                             December 18, 2020.
6 November 2020
                                             The Clerk of Court is respectfully directed to close ECF No.
                                             22.
Honorable Sarah L. Cave
U.S. Magistrate Judge                        SO-ORDERED 11/9/2020
Southern District of New York
Daniel Patrick Moynihan Courthouse
500 Pearl Street
New York, NY 10007


Re: Murphy v. Comm’r of Social Security, 20 CV 01419 (SLC)


Dear Magistrate Judge Cave:

        I represent the plaintiff, Meredith Murphy, in her Social Security appeal, and Amanda
Parsels represents the defendant, Commissioner of Social Security. We write to request an
amendment to the current briefing schedule in order to allow potential settlement negotiations to
continue. This is a joint request.

        Ms. Parsels will continue to confer with the Agency regarding possible settlement but
notes that it will take at least an additional 14 days for the Agency to respond.

        We request that the time for Plaintiff to file her motion be extended for 30 days but that
no other dates be amended. This would allow settlement discussion to continue yet not delay the
overall action past current final deadlines. This is Plaintiff’s second request for a change to the
schedule.

The briefing schedule is currently as follows (Dkt. 21):

      Plaintiff’s Motion for Judgment on the Pleadings (November 18, 2020)
      Defendant’s Cross-Motion for Judgment on the Pleadings (January 19, 2021)
      Plaintiff’s Reply (February 5, 2021)
The new proposed deadlines are as follows:

      Plaintiff’s Motion for Judgment on the Pleadings (December 18, 2020)


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      Defendant’s Cross-Motion for Judgment on the Pleadings (January 19, 2021)(unchanged)
      Plaintiff’s Reply (February 5, 2021)(unchanged)


Thank you for your consideration of this request.



Sincerely,




Ann P. Biddle
Litigation Supervisor
Mental Health Project




/s/ Amanda F. Parsels

AMANDA F. PARSELS
Assistant United States Attorney
Southern District of New York
86 Chambers Street, 3rd Floor
New York, NY 10007
(212) 637-2780



Filed via ECF




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